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                   United States District Court
                     District of Massachusetts


                                      )
United States of America,             )
                                      )
                                      )
          v.                          )
                                      )
                                      )     Criminal Action No.
Orlando DeJesus Ortiz,                )     10-10009-NMG
                                      )
          Defendant.                  )
                                      )
                                      )


                         MEMORANDUM & ORDER
GORTON, J.

     Pending before the Court is the motion of defendant Orlando

DeJesus Ortiz (“Ortiz” or “defendant”), who appears pro se, for

resentencing pursuant to the First Step Act of 2018, Pub. L. No.

115-391, 132 Stat. 5194 (Docket No. 184).       Chavez is currently

incarcerated at FCI Cumberland in Maryland, having been

convicted of drug trafficking offenses.      In October, 2011, he

was sentenced to a below-guideline sentence of imprisonment of

180 months.

I.   Background

     In 2009, the North Shore Gang Task Force of the Federal

Bureau of Instigation (“the FBI”) commenced an investigation in

Chelsea, Massachusetts, targeting gang-related drug traffickers

operating in the area.    During that investigation, law

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enforcement agents conducted dozens of controlled purchases of

crack cocaine from the targets.     One such transaction occurred

on May 15, 2009, in which defendant sold to a cooperating

witness 1.2 grams of crack cocaine.

     Several months later, in January, 2010, a federal grand

jury returned a three-count indictment, charging Ortiz and co-

defendant Hector Rosa with conspiracy to distribute cocaine base

and distribution of cocaine base, in violation of 21 U.S.C.

§§ 841(a)(1) & 846.   Thereafter, the government, acting pursuant

to 21 U.S.C. § 851 (“§ 851 information”), filed an information

observing that defendant had prior felony drug convictions which

increased his maximum available penalty from 20 to 30 years in

prison under § 841(b).    In June, 2011, a federal jury found

Ortiz guilty of the instant drug trafficking offense.

     At the time Ortiz was sentenced in October, 2011, his

criminal record spanned more than a decade and included

convictions of, inter alia, distribution of controlled

substances, assault with a dangerous weapon and assault and

battery on a police officer and resisting arrest.        Four of those

convictions qualified him as a career offender under U.S.S.G.

§ 4B1.1, thereby increasing the advisory guideline sentencing

range to 262 to 327 months of imprisonment.       In light of the

sentencing factors set forth in 18 U.S.C. § 3553(a), however,



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this Court ultimately sentenced defendant to a below-range 180

months in prison.

      Defendant appealed his conviction and sentence to the First

Circuit Court of Appeals (“the First Circuit”) which, by summary

disposition, affirmed the judgment of this Court in May, 2013.

      Defendant now moves for resentencing pursuant to § 404 of

the First Step Act of 2018 (“the FSA”), contending that he is

entitled to a reduction of the (below guideline) sentence

previously imposed by this Court.      The government disagrees and

urges this Court to deny defendant’s motion because the passage

of the FSA had no impact on the advisory guideline sentencing

range for Ortiz.

II.   Motion for Resentencing Pursuant to the First Step Act

        A. Statutory Framework

      In 2010, Congress enacted the Fair Sentencing Act primarily

to reform the penalty structure for crack cocaine offenses. Pub.

L. No. 111-220, 124 stat. 2373.      In furtherance of that goal,

§ 2 of the Act, inter alia, lowered statutory penalties for

crack cocaine offenses and increased the quantities of crack

cocaine necessary to initiate mandatory minimum sentences.

Those provisions did not, however, apply retroactively. Dorsey

v. United States, 567 U.S. 260, 281-82 (2012).

      To address that concern, Congress enacted the First Step

Act in 2018 which rendered several provisions of the Fair

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Sentencing Act retroactive.    Relevant to Ortiz’s pending motion

is § 404 of the First Step Act, which permits (but does not

require) a court that “imposed a sentence for a covered offense”

to reduce a defendant’s sentence as if § 2 of the Fair

Sentencing Act had been in effect when the offense was

committed. § 404(b)–(c).

     A “covered offense” means

     a violation of a Federal criminal statute, the statutory
     penalties for which were modified by section 2 or 3 of the
     Fair Sentencing Act of 2010 (Public Law 111-220; 124 Stat.
     2372), that was committed before August 3, 2010.

§ 404(a).   That modification is applicable to any violation of

21 U.S.C. § 841 involving the distribution of crack cocaine,

even violations where, as here, the quantity of drugs attributed

to defendant does not implicate a mandatory minimum sentence

under § 841(b). See United States v. Smith, 954 F.3d 446, 449–50

(1st Cir. 2020).

       B. Application

     Here, although Ortiz was convicted of a “covered offense”

under the First Step Act, this Court finds no reason to alter

the previously imposed below-guideline sentence. See Smith, 954

F.3d at 452 (“The First Step Act gives district courts

discretion to grant or deny a sentencing reduction.”).         Indeed,

there has been no change to the applicable advisory guideline

sentencing range since sentence was imposed.       Under both the


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2010 Guidelines Manual and the now-operative 2018 version,

defendant, as a career offender, has a total offense level of

34, falls in criminal history category VI and has an advisory

guideline sentencing range of 262–327 months. See U.S.S.G. §

4B1.1.

     Furthermore, nothing in defendant’s memorandum assuages the

concern of this Court as to the risk he poses to the public.          He

makes no mention of any effort at rehabilitation nor a promise

to change his life-style as a career offender.        Thus, the

totality of the circumstances, specifically defendant’s lengthy

criminal history, the need for just punishment and respect for

the law and the obligation to protect the public, weighs heavily

against reducing defendant’s sentence. See § 3553(a).

Accordingly, defendant’s motion seeking such a reduction will be

denied.

                                 ORDER

     For the foregoing reasons, defendant’s motion to reduce

sentence pursuant to the First Step Act (Docket No. 184) is

DENIED.

So ordered.

                                         /s/ Nathaniel M. Gorton
                                         Nathaniel M. Gorton
                                         United States District Judge
Dated May 12, 2021




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